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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

UNITED STATES OF AMERICA                 )
                                         )
      v.                                 )            CR218-004
                                         )
GARY A. GOSS, JR.                        )

                        NOTICE OF FINAL FORFEITURE

      On May 1, 2018, this Court entered a Consent Order of Forfeiture. See Dkt.

No. 92. From May 4, 2018 to June 2, 2018, the United States published via

www.forfeiture.gov notice of the Court’s order and of the government’s intention to

dispose of one (1) DPMS AR-15 .223 caliber rifle bearing serial number FFH148600

(hereinafter, the “Subject Property”) according to law. See Dkt. No. 96. Said notice

further notified all third parties of the right to petition the Court within 60 days for

a hearing to adjudicate the validity of any alleged legal interest in the Subject

Property. Id. It appears from the record that no petition contesting forfeiture was

filed within the time permitted by 21 U.S.C. § 853(n)(2).

      Accordingly, NOTICE IS HEREBY GIVEN that, pursuant to Rule 32.2(c)(2)

of the Federal Rules of Criminal Procedure, the Order of Forfeiture has become final

as to all persons by operation of law. All right, title, and interest in the Subject

Property, whether real, personal, or mixed, has been forfeited to the United States

for disposition according to law.
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     This 25th day of September, 2018.

                                    BOBBY L. CHRISTINE
                                    UNITED STATES ATTORNEY

                                    /s/ Xavier A. Cunningham
                                    ___________________________
                                    Xavier A. Cunningham
                                    Assistant United States Attorney
                                    New York Bar No. 5269477
P.O. Box 8970
Savannah, Georgia 31412
(912) 652-4422




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                           CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the Notice of Electronic Filing that was generated as a result of

electronic filing in this Court.

      This 25th day of September, 2018.


                                        /s/ Xavier A. Cunningham
                                        ___________________________
                                        Xavier A. Cunningham
                                        Assistant United States Attorney
